9/30/2021                   Inmate Management System              SIMMONSJOE Page       1
7:05:00     Case 2:12-cv-00859-LMA-MBN Document
                           Active Inmates       1474-2 Filed 09/30/21
                                          by Location                 Page 1 ofIM1P13
                                                                  IM_CNT_PUB   1

                            Building     Tier   Side     Count

                              BKG                       ______
                                                             7
                            Total for BKG                    7

                              FED                       ______
                                                            13
                            Total for FED                   13

                              HNK                       ______
                                                             1
                            Total for HNK                    1

                              OJC      1         A           4
                              OJC      1         B          35
                              OJC      1         C          32
                              OJC      1         D          27
                              OJC      1         E          24
                              OJC      1         F          20
                              OJC      2         A          23
                              OJC      2         B          15
                              OJC      2         C          17
                              OJC      2         D          44
                              OJC      2         E          42
                              OJC      2         F          56
                              OJC      3         A          33
                              OJC      3         B          42
                              OJC      3         C          39
                              OJC      3         D          15
                              OJC      3         E          34
                              OJC      3         F          10
                              OJC      4         A          39
                              OJC      4         B          39
                              OJC      4         C          42
                              OJC      4         D          61
                              OJC      4         E          60
                              OJC      4         F      ______
                                                            61
                            Total for OJC                  814

                              TDC      B3        W           6
                              TDC      B4        E           6
                              TDC      B4        W      ______
                                                            17
                            Total for TDC                   29

                              TMH      1         A           9
                              TMH      1         B           6
                              TMH      2         B      ______
                                                             6
                            Total for TMH                   21



                            Total All Locations            885
                                                        ======


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